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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT



RALPH BIRCH
        Plaintiff


 V.

                                                                3:20-cv-1790 VAB
 TOWN OF NEW MILFORD,
 ANDREW OCIF,
 SCOTT O’MARA,
 JOHN MICHERINO,
 STEVEN JORDAN,
 JOSEPH QUARTIERO,
 MICHAEL GRAHAM,
 BRIAN ACKER,
 HENRY LEE,
 ROBERT SANTORO
 Defendants



                                        JUDGMENT


       A complaint was filed on December 2, 2020. On May 3, 2024, the Court entered

an order granting the stipulation of dismissal of Defendants Andrew Ocif, Scott O'Mara,

John Mucherino, Paul V. Lioon, as Administrator of the Estate of H. Patrick McCafferty,

Joseph Quartiero, Michael Graham, Brian Acker, and Henry Lee (collectively the "State

Defendants"), without costs to any party. Order, ECF No. 206. On December 12, 2024 the

Court entered an order granting the stipulation of dismissal of Plaintiff Shawn Henning

without fees or costs to any party. Order, ECF No. 260.

       This matter then came on for trial before a jury and the Honorable Victor A. Bolden,

United States District Judge. On March 19, 2025, after deliberation, the jury returned a

verdict in favor of the plaintiff Ralph Birch and against Robert Santoro as Administrator of

the Estate of David Shortt, and awarded the plaintiff, $5.700,000 in compensatory

damages. Jury Verdict, ECF No. 304.Because the jury verdict in the amount of
$5,700,000.00 exceeds the compromise
       Case 3:20-cv-01790-VAB        amount
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                                                 Filed Plaintiff, thePage
                                                                     Plaintiff
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therefore entitled to 8% simple annual interest on the amount of the verdict, which was

awarded solely on causes of action pursuant to state law. See Jury Verdict, ECF No. 304

(Mar. 19, 2025); Notice re Offer of Compromise, ECF No. 309 (Mar. 20, 2025) (“The jury

verdict in the amount of $5,700,000.00 exceeds the compromise amount offered by

Plaintiff.”); Conn. Gen. Stat. § 52-192a(c) (“If the court ascertains from the record that the

plaintiff has recovered an amount equal to or greater than the sum certain specified in the

plaintiff's offer of compromise, the court shall add to the amount so recovered eight per

cent annual interest on said amount . . . .”). Because Plaintiff served the offer of

compromise within eighteen (18) months of commencing this action on December 2,

2020, the interest is calculated from the date this action was filed. Compare Complaint,

ECF No. 1 (Dec. 2, 2020) with Sealed Offer of Compromise, ECF No. 79 (Ocr. 25, 2021);

see Conn. Gen. Stat. § 52-192a(c) (“The interest shall be computed from the date the

complaint in the civil action or application under section 8-132 was filed with the court if

the offer of compromise was filed not later than eighteen months from the filing of such

complaint or application.”).

       Four years and 108 days elapsed between the commencement of this action on

December 2, 2020, and the jury’s verdict on March 19, 2025. Plaintiff is therefore entitled

to 8% simple interest for each of the elapsed four complete years, plus (108/365) * 8%

simple interest, or 2.367% simple interest, for the remaining elapsed partial year, for a

total of 34.367% simple interest on the verdict amount. Pursuant to General Statute § 52-

192a(c), the Court also awards to the Plaintiff the maximum amount of $350 in

reasonable attorneys’ fees. See Conn. Gen. Stat. § 52-192a(c) (“The court may award

reasonable attorney's fees in an amount not to exceed three hundred fifty dollars . . .”).

The total amount of the Court’s judgment, before taxation of costs, should therefore be:

$7,659,269.00 (134.367% * $5,700,000.00) + $350 = $7,659,269.00.

       In addition, as a result of the jury verdict in favor of the Plaintiff against Robert

Santoro as Administrator of the Estate of David Shortt, judgment is also entered against
the Town of New
       Case      Milford. Conn. Gen.Document
             3:20-cv-01790-VAB       Stat. §52-557n(a)
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by law, a political subdivision of the state shall be liable to damages for person or property

caused by . . . [t]he negligent acts or omissions of such political subdivision or any

employee, officer or agent thereof acting within the scope of his employment or official

duties . . . .”).The jury also returned a verdict in favor of Steven Jordan on all counts. Jury

Verdict, ECF No. 304.

       It is therefore ORDERED, ADJUDGED and DECREED that judgment is entered

against the Defendants, the Town of New Milford and Robert Santoro as Administrator of

the Estate of David Shortt, in the amount of $7,659,269.00, in favor of the plaintiff,

judgment is entered in favor of Steven Jordan on all counts, and the case is now closed.

       Dated at New Haven, Connecticut, this 28th day of March 2025



                                                   DINAH MILTON KINNEY, Clerk

                                                   By:/s/ Tatihana Murphy
                                                   Deputy Clerk
 EOD: 3/28/2025
